Case 3:18-cv-02539-BAS-WVG Document 1 Filed 11/05/18 PageID.1 Page 1 of 10



  1   Peter Kristofer Strojnik, State Bar No. 242728
      pstrojnik@strojniklaw.com
  2   THE STROJNIK FIRM LLC
  3   A LIMITED LIABILITY COMPANY
      Esplanade Center III, Suite 700
  4   2415 East Camelback Road
  5   Phoenix, Arizona 85016
      Telephone: (602) 510-9409
  6   Facsimile: (602) 773-0370
  7   Attorneys for Plaintiff THERESA BROOKE
  8
                                  UNITED STATES DISTRICT COURT
  9
                            SOUTHERN DISTRICT OF CALIFORNIA
 10
 11   THERESA BROOKE, a married woman
      dealing with her sole and separate claim,      Case No: '18CV2539 BEN WVG
 12
 13                         Plaintiff,               VERIFIED COMPLAINT

 14
      vs.
 15
 16   RPC OLD TOWN JEFFERSON OWNER,                  (JURY TRIAL DEMANDED)
      LLC, a Delaware limited liability company
 17   dba Courtyard by Marriott Old Town,
 18
                            Defendant.
 19
             Plaintiff alleges:
 20
                                             PARTIES
 21
             1.     Plaintiff Theresa Brooke is a married woman currently residing in Pinal
 22
      County, Arizona. Plaintiff is and, at all times relevant hereto, has been legally disabled,
 23
      confined to a wheel chair, and is therefore a member of a protected class under the
 24
      ADA, 42 U.S.C. § 12102(2), the regulations implementing the ADA set forth at 28 CFR
 25
      §§ 36.101 et seq., the California Unruh Civil Rights Act, California Civil Code § 51,
 26
      52, and the California Disabled Persons Act. Plaintiff ambulates with the aid of a
 27
      wheelchair due to the loss of a leg.
 28
Case 3:18-cv-02539-BAS-WVG Document 1 Filed 11/05/18 PageID.2 Page 2 of 10



  1          2.     Defendant, RPC Old Town Jefferson Owner, LLC, owns and/or operates
  2   and does business as the hotel, Courtyard by Marriott located at 2435 Jefferson Street,
  3   San Diego, California 92110. Defendant’s hotel is a public accommodation pursuant to
  4   42 U.S.C. § 12181(7)(A), which offers public lodging services.
  5                               JURISDICTION AND VENUE
  6          3.     Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 42
  7   U.S.C. § 12188. The Court has supplemental jurisdiction over the state law claims. 28
  8   U.S.C. § 1367.
  9          4.     Plaintiff’s claims asserted herein arose in this judicial district and
 10   Defendant does substantial business in this judicial district.
 11          5.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c)
 12   in that this is the judicial district in which a substantial part of the acts and omissions
 13   giving rise to the claims occurred.
 14                      ALLEGATIONS COMMON TO ALL COUNTS
 15          6.     Plaintiff is a disabled woman that relies on a wheelchair for locomotion.
 16   Her disability is that she only has one leg. She cannot walk.
 17          7.     On or about October 30, 2018, Plaintiff went to Defendant’s hotel to book
 18   a room. She parked in the disabled parking spot near the lobby area. However, there
 19   was no access aisle marked from the disabled parking spot to the lobby entrance.
 20   Deterred at the lack of access from the disabled parking spot to the lobby and at the lack
 21   of equality of access, Plaintiff left the hotel and stayed elsewhere that night.
 22          8.     The purpose of an access aisle is to mark where cars should not park and
 23   to create a clear pathway for a person in a wheelchair to the entrance to the main point
 24   of entry. When Plaintiff arrived, there was a vehicle blocking her entrance to the lobby
 25   entrance; had there been a marked access aisle, presumably the vehicle would not have
 26   blocked the entryway.
 27          9.     Plaintiff has personal knowledge of a barrier related to her disability, as
 28   noted above, and is currently deterred from returning to Defendant’s accommodation by


                                                 2
Case 3:18-cv-02539-BAS-WVG Document 1 Filed 11/05/18 PageID.3 Page 3 of 10



  1   this accessibility barrier. Therefore, she has suffered an injury-in-fact for the purpose of
  2   her standing to bring this action. Plaintiff’s injury is ongoing due to the existence of the
  3   barrier and her continued deterrence until the barrier is removed.
  4          10.    As a result of Defendant’s non-compliance with the ADA, Plaintiff did
  5   not lodge at the hotel. However, notwithstanding the barriers at issue, Plaintiff will
  6   lodge at Defendant’s hotel if Defendant removes the barriers at issue. Plaintiff makes
  7   frequent trips to San Diego, and if the barriers are removed, she will lodge at
  8   Defendant’s hotel and/or revisit the hotel to obtain access to the Defendant’s property.
  9   Plaintiff especially hopes Defendant does in fact remediate, as she wishes to diversify
 10   her lodging during her visits. It is also rare for a hotel to be fully compliant with the
 11   ADA, which limits Plaintiff’s choice of lodging.
 12          11.    Plaintiff and other disabled persons have been injured by Defendant’s
 13   discriminatory practices and failure to remove architectural barriers. These injuries
 14   include being deterred from using Defendant’s hotel due to the lack of full and equal
 15   access to the lobby.
 16          12.    Without injunctive relief, Plaintiff and others will continue to be unable to
 17   independently use Defendant’s hotel in violation of her rights under the ADA.
 18          13.    Other potential violations and barriers to entry at Defendant’s hotel may
 19   be discovered through an expert inspection of the hotel property pursuant to Rule 34. So
 20   as to avoid piecemeal litigation to ensure full access to the entirety of the property at
 21   issue, Plaintiff will amend her complaint to allege and all additional barriers discovered
 22   during the Rule 34 inspection. Doran v. 7-Eleven, 524 F.3d 1034 (9th Cir. 2008).
 23                               FIRST CAUSE OF ACTION
                   (Violation of Title III the Americans with Disabilities Act)
 24
 25          14.    Plaintiff incorporates all allegations heretofore set forth.

 26          15.    Defendant has discriminated against Plaintiff and others in that it has

 27   failed to make its public lodging services fully accessible to, and independently usable

 28


                                                3
Case 3:18-cv-02539-BAS-WVG Document 1 Filed 11/05/18 PageID.4 Page 4 of 10



  1   by, individuals who are disabled in violation of 42 U.S.C. § 12182(a) and §
  2   121282(b)(2)(iv) and the 2010 Standards, as described above.
  3          16.    Defendant has discriminated against Plaintiff in that it has failed to
  4   remove architectural barriers to make its lodging services fully accessible to, and
  5   independently usable by individuals who are disabled in violation of 42 U.S.C.
  6   §12182(b)(A)(iv) and the 2010 Standards, as described above. Compliance with the
  7   2010 Standards would neither fundamentally alter the nature of Defendant’s lodging
  8   services nor result in an undue burden to Defendant.
  9          17.    Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) and the 2010 Standards,
 10   as described above, is readily achievable by the Defendant. Id. Readily achievable
 11   means that providing access is easily accomplishable without significant difficulty or
 12   expense.
 13          18.    Conversely, the cessation of compliance with the ADA law is also readily
 14   achievable. Therefore, injunctive relief should issue irrespective of Defendant’s
 15   potential voluntary cessation pursuant to the Supreme Court’s announcement in Friends
 16   of the Earth case1.
 17          19.    Defendant’s conduct is ongoing, and, given that Defendant has never fully
 18   complied with the ADA’s requirements that public accommodations make lodging
 19
 20
      1
        Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 189, 120 S.Ct.
 21   693, 145 L.Ed.2d 610 (2000):
 22
             It is well settled that a defendant's voluntary cessation of a challenged
 23          practice does not deprive a federal court of its power to determine the
             legality of the practice. If it did, the courts would be compelled to leave the
 24          defendant free to return to his old ways. In accordance with this principle,
 25          the standard we have announced for determining whether a case has been
             mooted by the defendant's voluntary conduct is stringent: A case might
 26          become moot if subsequent events made it absolutely clear that the
             allegedly wrongful behavior could not reasonably be expected to recur. The
 27
             heavy burden of persuading the court that the challenged conduct cannot
 28          reasonably be expected to start up again lies with the party asserting
             mootness.

                                                4
Case 3:18-cv-02539-BAS-WVG Document 1 Filed 11/05/18 PageID.5 Page 5 of 10



  1   services fully accessible to, and independently usable by, disabled individuals, Plaintiff
  2   invokes her statutory right to declaratory and injunctive relief, as well as costs and
  3   attorneys’ fees.
  4          20.      Without the requested injunctive relief, specifically including the request
  5   that the Court retain jurisdiction of this matter for a period to be determined after the
  6   Defendant certifies that it is fully in compliance with the mandatory requirements of the
  7   ADA that are discussed above, Defendant’s non-compliance with the ADA’s
  8   requirements that its hotel be fully accessible to, and independently useable by, disabled
  9   people is likely to recur.
 10          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
 11                a. A Declaratory Judgment that at the commencement of this action
 12                   Defendant was in violation of the specific requirements of Title III of the
 13                   ADA described above;
 14                b. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
 15                   applicable, a permanent injunction pursuant to 42 U.S.C. § 12188(a)(2)
 16                   and 28 CFR § 36.504(a) which directs Defendant to take all steps
 17                   necessary to bring its hotel into full compliance with the requirements set
 18                   forth in the ADA, and its implementing regulations, so that the hotel is
 19                   fully accessible to, and independently usable by, disabled individuals, and
 20                   which further directs that the Court shall retain jurisdiction for a period to
 21                   be determined after Defendant certifies that its hotel is fully in compliance
 22                   with the relevant requirements of the ADA to ensure that Defendant has
 23                   adopted and is following an institutional policy that will in fact cause
 24                   Defendant to remain fully in compliance with the law;
 25                c. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
 26                   applicable, payment of costs of suit;
 27                d. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
 28                   applicable, payment of attorneys’ fees pursuant to 42 U.S.C. § 12205, 28


                                                  5
Case 3:18-cv-02539-BAS-WVG Document 1 Filed 11/05/18 PageID.6 Page 6 of 10



  1                   CFR § 36.505 and other principles of law and equity and in compliance
  2                   with the “prevailing party” and “material alteration” of the parties’
  3                   relationship doctrines2 in an amount no less than $3,500.00; and,
  4                e. Nominal damages pursuant to the Ninth Circuit Court of Appeal’s
  5                   recently decision in Bayer v. Neiman Marcus Group, Inc., Ninth Circuit
  6                   case no. 15-15287 (June 26, 2017) (for publication); and,
  7                f. Order closure of the Defendant’s place of public accommodation until
  8                   Defendant has fully complied with the ADA; and
  9                g. The provision of whatever other relief the Court deems just, equitable and
 10                   appropriate.
 11                              SECOND CAUSE OF ACTION
          (Violation of the California Unruh Civil Rights Act, Cal. Civ. Code §§51, 52)
 12
 13          21.      Plaintiff realleges all allegations heretofore set forth.
 14          22.      Defendant has violated the Unruh by denying Plaintiff equal access to its
 15   public accommodation on the basis of her disability as outlined above.
 16          23.      Unruh provides for declaratory and monetary relief to “aggrieved
 17   persons” who suffer from discrimination on the basis of their disability.
 18          24.      Plaintiff has been damaged by the Defendant’s non-compliance with
 19   Unruh.
 20          25.      Pursuant to Cal Civ. Code §52, Plaintiff is further entitled to such other
 21   relief as the Court considers appropriate, including monetary damages in an amount to
 22   be proven at trial, but in no event less than $4,000.00.
 23          26.      Pursuant to Unruh, Plaintiff is entitled to attorney’s fees and costs in an
 24   amount to be proven at trial.
 25          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
 26
 27   2
       As applicable to ADA cases, see Coppi v. City of Dana Point, Case No. SACV 11-
 28   1813 JGB (RNBx) (February, 2015)


                                                   6
Case 3:18-cv-02539-BAS-WVG Document 1 Filed 11/05/18 PageID.7 Page 7 of 10



  1            a. A Declaratory Judgment that at the commencement of this action
  2               Defendant was in violation of the specific requirements of Unruh; and
  3            b. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
  4               applicable, a permanent injunction pursuant to 42 U.S.C. § 12188(a)(2)
  5               and 28 CFR § 36.504(a) which directs Defendant to take all steps
  6               necessary to bring its hotel into full compliance with the requirements set
  7               forth in the ADA, and its implementing regulations, so that the hotel is
  8               fully accessible to, and independently usable by, disabled individuals, and
  9               which further directs that the Court shall retain jurisdiction for a period to
 10               be determined after Defendant certifies that its hotel is fully in compliance
 11               with the relevant requirements of the ADA to ensure that Defendant has
 12               adopted and is following an institutional policy that will in fact cause
 13               Defendant to remain fully in compliance with the law;
 14            c. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
 15               applicable, payment of costs of suit;
 16            d. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
 17               applicable, payment of attorneys’ fees pursuant to 42 U.S.C. § 12205, 28
 18               CFR § 36.505 and other principles of law and equity and in compliance
 19               with the “prevailing party” and “material alteration” of the parties’
 20               relationship doctrines3 in an amount no less than $3,500.00; and,
 21            e. Nominal damages pursuant to the Ninth Circuit Court of Appeal’s
 22               recently decision in Bayer v. Neiman Marcus Group, Inc., Ninth Circuit
 23               case no. 15-15287 (June 26, 2017) (for publication); and,
 24            f. Order closure of the Defendant’s place of public accommodation until
 25               Defendant has fully complied with the ADA; and
 26
 27   3
       As applicable to ADA cases, see Coppi v. City of Dana Point, Case No. SACV 11-
 28   1813 JGB (RNBx) (February, 2015)


                                              7
Case 3:18-cv-02539-BAS-WVG Document 1 Filed 11/05/18 PageID.8 Page 8 of 10



  1                g. For damages in an amount no less than $4,000.00; and
  2                h. The provision of whatever other relief the Court deems just, equitable and
  3                   appropriate.
  4                              THIRD CAUSE OF ACTION
         (Violation of the California Disabled Persons Act, Cal. Civ. Code §§54-54.3)
  5
  6          27.      Plaintiff realleges all allegations heretofore set forth.
  7          28.      Defendant has violated the DPA by denying Plaintiff equal access to its
  8   public accommodation on the basis of her disability as outlined above.
  9          29.      The DPA provides for monetary relief to “aggrieved persons” who suffer
 10   from discrimination on the basis of their disability.
 11          30.      Plaintiff has been damaged by the Defendant’s non-compliance with the
 12   DPA.
 13          31.      Pursuant to the DPA, Plaintiff is further entitled to such other relief as the
 14   Court considers appropriate, including monetary damages in an amount to be proven at
 15   trial, but in no event less than $1,000.00. Cal. Civ. Code § 54.3.
 16          32.      Pursuant to the DPA, Plaintiff is entitled to attorney’s fees and costs in an
 17   amount to be proven at trial. Cal. Civ. Code § 54.3.
 18          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
 19                a. A Declaratory Judgment that at the commencement of this action
 20                   Defendant was in violation of the specific requirements of Unruh; and
 21                b. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
 22                   applicable, a permanent injunction pursuant to 42 U.S.C. § 12188(a)(2)
 23                   and 28 CFR § 36.504(a) which directs Defendant to take all steps
 24                   necessary to bring its hotel into full compliance with the requirements set
 25                   forth in the ADA, and its implementing regulations, so that the hotel is
 26                   fully accessible to, and independently usable by, disabled individuals, and
 27                   which further directs that the Court shall retain jurisdiction for a period to
 28


                                                   8
Case 3:18-cv-02539-BAS-WVG Document 1 Filed 11/05/18 PageID.9 Page 9 of 10



  1                 be determined after Defendant certifies that its hotel is fully in compliance
  2                 with the relevant requirements of the ADA to ensure that Defendant has
  3                 adopted and is following an institutional policy that will in fact cause
  4                 Defendant to remain fully in compliance with the law;
  5             c. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
  6                 applicable, payment of costs of suit;
  7             d. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
  8                 applicable, payment of attorneys’ fees pursuant to 42 U.S.C. § 12205, 28
  9                 CFR § 36.505 and other principles of law and equity and in compliance
 10                 with the “prevailing party” and “material alteration” of the parties’
 11                 relationship doctrines4 in an amount no less than $3,500.00; and,
 12             e. Nominal damages pursuant to the Ninth Circuit Court of Appeal’s
 13                 recently decision in Bayer v. Neiman Marcus Group, Inc., Ninth Circuit
 14                 case no. 15-15287 (June 26, 2017) (for publication); and,
 15             f. Order closure of the Defendant’s place of public accommodation until
 16                 Defendant has fully complied with the ADA; and
 17             g. For damages in an amount no less than $1,000.00; and
 18             h. The provision of whatever other relief the Court deems just, equitable and
 19                 appropriate.
 20
 21                                DEMAND FOR JURY TRIAL
 22          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby
 23   demands a jury trial on issues triable by a jury.
 24
 25
 26
 27   4
       As applicable to ADA cases, see Coppi v. City of Dana Point, Case No. SACV 11-
 28   1813 JGB (RNBx) (February, 2015)


                                                9
Case 3:18-cv-02539-BAS-WVG Document 1 Filed 11/05/18 PageID.10 Page 10 of 10



   1
   2        RESPECTFULLY SUBMITTED this 4th day of November, 2018.
   3
   4                                            THE STROJNIK FIRM L.L.C.

   5
   6
   7                                           Peter Kristofer Strojnik (242728)
                                               2415 East Camelback Road, Suite 700
   8                                           Phoenix, Arizona 85016
   9                                           Attorneys for Plaintiff

  10                   VERIFICATION COMPLIANT WITH R10-3-405
  11
            I declare under penalty of perjury that the foregoing is true and correct.
  12
            DATED this 4th day of November, 2018.
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28


                                              10
